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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION


CASIO COMPUTER CO., LTD.,

        Plaintiff,
                                                     Case No. 24-cv-11010
v.
                                                     Judge Matthew F. Kennelly
THE INDIVIDUALS, CORPORATIONS,
LIMITED LIABILITY COMPANIES,
PARTNERSHIPS AND UNINCORPORATED
ASSOCIATIONS IDENTIFIED ON
SCHEDULE A HERETO,

        Defendants.


        PRELIMINARY INJUNCTION ORDER AS TO CERTAIN DEFENDANTS

        THIS CAUSE being before the Court on CASIO COMPUTER CO., LTD.’s Motion for a

Preliminary Injunction, and this Court having considered the evidence before it hereby GRANTS

Plaintiff’s Motion for Entry of a Preliminary Injunction in its entirety against Defendant Nos. 1-

8, 11, 15, 20-25, 27-81, 106, 149-225 and 227-245 identified in Schedule A attached hereto

(collectively, the “Defendants”).

        THIS COURT HEREBY FINDS that it has personal jurisdiction over the Defendants

since the Defendants directly target their business activities toward consumers in the United

States, including Illinois. Specifically, Defendants are reaching out to do business with Illinois

residents by operating one or more commercial, interactive Internet Stores through which Illinois

residents can purchase products bearing infringing and/or counterfeit versions of Plaintiff’s

CASIO TRADEMARKS and DESIGNS (the “CASIO Products”).




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       THIS COURT FURTHER FINDS that injunctive relief previously granted in the

Temporary Restraining Order (“TRO”) should remain in place through the pendency of this

litigation and that issuing this Preliminary Injunction is warranted under Federal Rule of Civil

Procedure 65.    Evidence submitted in support of this Motion and in support of Plaintiff’s

previously granted Motion for a Temporary Restraining Order establishes that Plaintiff has a

likelihood of success on the merits; that no remedy at law exists; and that Plaintiff will suffer

irreparable harm if the injunction is not granted.

       Specifically, Plaintiff has made a prima facie showing of trademark and design patent

infringement because (1) the CASIO TRADEMARKS and DESIGNS are distinctive marks and

designs and are registered with the U.S. Patent and Trademark Office ((U.S. Registration No.

1,041,284 for word mark “CASIO”; Nos. 1,399,344; 4,956,583; 5,517,268; and 6,187,175 for

word mark “G-SHOCK”) (U.S. Design Patent Nos. D619,909; D658,081; D663,222; D685,666;

D724,447; D733,578; D733,602; D742,252; D742,253; D742,763; D776,550; D807,201;

D807,202; D817,193; and D820,117)), (2) Defendants are not licensed or authorized to use the

CASIO TRADEMARKS and DESIGNS, and (3) Defendants’ use of the CASIO TRADEMARKS

and DESIGNS are causing a likelihood of confusion as to the origin or sponsorship of Defendants’

products with CASIO COMPUTER CO., LTD.                   Furthermore, Defendants’ continued and

unauthorized use of the CASIO TRADEMARKS and DESIGNS irreparably harms Plaintiff

through diminished goodwill and brand confidence, damage to Plaintiff’s reputation, loss of

exclusivity, and loss of future sales. Monetary damages fail to address such damage and,

therefore, Plaintiff has an inadequate remedy at law. Moreover, the public interest is served by

entry of this Preliminary Injunction to dispel the public confusion created by Defendants’ actions.

       Accordingly, this Court ORDERS that:


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1.      Defendants, their officers, agents, servants, employees, attorneys, and all persons acting

        for, with, by, through, under or in active concert with them be enjoined and restrained from:

         a. using Plaintiff's CASIO TRADEMARKS and DESIGNS or any confusingly

             similar reproductions, counterfeit copies or colorable imitations thereof in any

             manner in connection with the distribution, marketing, advertising, offering for

             sale, or sale of any product that is not a genuine CASIO Product or is not

             authorized by Plaintiff to be sold in connection with Plaintiff's CASIO

             TRADEMARKS and DESIGNS;

        b.   passing off, inducing, or enabling others to sell or pass off any product as a

             genuine CASIO Product or other product produced by Plaintiff, that is not

             Plaintiff's or is not produced under the authorization, control or supervision of

             Plaintiff and approved by Plaintiff for sale under Plaintiff's CASIO

             TRADEMARKS and DESIGNS;

        c.   committing any acts calculated to cause consumers to believe that Defendants'

             products are those sold under the authorization, control or supervision of

             Plaintiff, or are sponsored by, approved by, or otherwise connected with

             Plaintiff;

        d.   further infringing Plaintiff's CASIO TRADEMARKS and DESIGNS and

             damaging Plaintiff's goodwill;

        e.   shipping, delivering, holding for sale, transferring or otherwise moving, storing,

             distributing, returning, or otherwise disposing of, in any manner, products or

             inventory not manufactured by or for Plaintiff, nor authorized by Plaintiff to be

             sold or offered for sale, and which bear Plaintiff's CASIO TRADEMARKS and


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             DESIGNS or any confusingly similar reproductions, counterfeit copies or

             colorable imitations thereof; and

        f.   using, linking to, transferring, selling, exercising control over, or otherwise

             owning the Online Marketplace Accounts or any other online marketplace

             account that is being used to sell Counterfeit CASIO Products.

2.      Those in privity with Defendants and with actual notice of this Order, including any online

        marketplaces such as iOffer, Alibaba, Amazon, DHgate, eBay, Etsy, Joom, Temu Walmart

        and Wish, social media platforms, Facebook, YouTube, LinkedIn, Twitter, Internet search

        engines such as Google, Bing and Yahoo, web hosts for the Defendant Online Marketplace

        Accounts, and domain name registrars, shall within three (3) business days of receipt of

        this Order:

             a. disable and cease providing services for any accounts through which

                Defendants engage in the sale of counterfeit and infringing goods using the

                CASIO TRADEMARKS and DESIGNS, including any accounts

                associated with the Defendants listed in Schedule A; and

             b. disable and cease displaying any advertisements used by or associated with

                Defendants in connection with the sale of counterfeit and infringing goods

                using the CASIO TRADEMARKS and DESIGNS.

3.      Defendants and any persons in active concert or participation with them who have actual

        notice of this Order shall be restrained and enjoined from transferring or disposing of any

        money or other of Defendants' assets until further ordered by this Court.




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4.      Alibaba, Amazon, DHgate, eBay, Etsy, Joom, Temu, Walmart and Wish shall, within five

        (5) business days of receipt of this Order, for any Defendant or any of Defendants' Online

        Marketplace Accounts or websites:

           a. Locate all accounts and funds connected to Defendants, Defendants' Online

               Marketplace Accounts or Defendants' websites, including, but not limited to, any

               Alibaba, Amazon, DHgate, eBay, Etsy, Joom, Temu Walmart and Wish accounts

               connected to the information listed in Schedule A hereto; and

           b. Restrain and enjoin any such accounts or funds from transferring or disposing of

               any money or other of Defendants' assets until further ordered by this Court.


5.      Plaintiff may provide notice of these proceedings to Defendants, including notice

        of any future hearings and service of process pursuant to Fed.R.Civ.P. 4(f)(3), by

        electronically publishing a link to the Complaint, this Order and other relevant documents

        on a website, or by sending an e-mail to the e-mail addresses identified in Exhibit 3 to the

        Declaration of Hideyuki Kiuchi and any e-mail addresses provided for Defendants by third

        parties that includes a link to said website. The combination of providing notice via

        electronic publication or e-mail, along with any notice that Defendants receive from

        domain name registrars and payment processors, shall constitute notice reasonably

        calculated under all circumstances to apprise Defendants of the pendency of the action and

        afford them the opportunity to present their objections.

6.      Plaintiff's Schedule A to the Complaint and the TRO are unsealed.




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7.      Any Defendants that are subject to this Order may appear and move to dissolve or modify

        the Order on two days' notice to Plaintiff or on shorter notice as set by this Court.


Dated: Nov. 21, 2024


                                       _____________________________________
                                       The Honorable Matthew F. Kennelly
                                       U.S. District Judge




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                                  SCHEDULE A

     No. Defendant Name / Alias
      1   hxt_99
      2   luxuries-mlx-8
      3   peacelovermall
      4   prooutlet46
      5   soobsession
      6   soshada_store
      7   xuzhengcuihf8
      8   yangqiuliang5656aa
     11   Dongguan Daoyidao Trading Co., Ltd.
     15   mheewatchshop
     20   Mizan86
     21   NoosStudio
     22   RainbowDreamCrystal
     23   TinyLittleStuffbyC
     24   Uniusa
     25   2017chunxiongzhanq
     27   bcnj29
     28   chuangde518
     29   cruzejapan
     30   das_shopto
     31   ddhgdrt3
     32   fenghaojie
     33   fr_connection1
     34   friasboutique
     35   g-shockeruk
     36   gabri3742
     37   gredei57
     38   joshurin-8
     39   jzkjmotors
     40   labtec25
     41   linllzh4_78
     42   linsh0p
     43   luocai1688
     44   luxury_wave
     45   matbar85
     46   minso_10
     47   mudarmin0
     48   necesssary
     49   niche-and-neat
     50   niuenyzhi
     51   nuclearveki
     52   oxy.shop
     53   pavotempus
     54   sidscustoms
     55   squido1337

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    56    storeex
    57    tayp_1329
    58    tecatm123e-o03kf
    59    tikvtak
    60    times-s
    61    toy-collectors-paradise
    62    tsuhan-90
    63    unico-uni
    64    watchbandspot
    65    wuuu888
    66    xxmet-47
    67    zexianqingsongshebei
    68    zhihonchen0
    69    AIMES TECHNOLOGY(HK)CO.,LTD
    70    conghui
    71    daleatt
    72    WEIDE WATCH Flagship store
    73    YunBao International
    74    Aemus US
    75    ALLMoney Prime Deals 2024
    76    Disscool
    77    JIAJUWANJU US
    78    Sunnyson-
    79    TOPOPO
    80    Yxuutech
    81    ZTWEY
    106   Jiangxi HaDun Electronic Co., Ltd.
    149   ft1h Store
    150   sihuai05 Store
    151   t7sk Store
    152   CARLYWET
    153   Eastar
    154   fashion3c
    155   Guangruida Women Products
    156   HOBBIT-3C Accessories
    157   Win good stock
    158   Chengdu Bevogue Technology Co., Ltd.
    159   Dongguan Baoli Ornaments Co., Ltd.
    160   Foshan Laogeshi Watch Co., LTD
    161   Foshan Tudeng Technology Co., Ltd.
    162   Guangzhou Deye Watch And Clock Co., Ltd.
    163   Guangzhou Kaluoou Watch Co., Ltd.
    164   Guangzhou Qingxunfei Trading Firm (individual Business)
    165   Huizhou Baoshengni Electronic Technology Co., Ltd.
    166   Jiangxi Kaitan Digital Technology Co., Ltd.
    167   Minhou County Sugarcane Xinghao Trading Firm (individual Business)
    168   Shenzhen Chengdaxin Technology Co., Ltd.
    169   Shenzhen Climber Technology Co., Ltd.

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    170   Shenzhen Eraysun Electronic Tech Co., Ltd.
    171   Shenzhen Geekthink Tech Co., Ltd.
    172   Shenzhen Geekthink Technology Co., Ltd.
    173   Shenzhen Jiayumei Co., Ltd.
    174   Shenzhen Listen Smart Technology Co., Ltd.
    175   Shenzhen Microbiao Precision Hardware Co., Ltd.
    176   Shenzhen Shengdasi Industry And Trade Co., Ltd.
    177   Shenzhen Xinyuan Technology Limited Company
    178   Shenzhen Zhenxin Electronic Technology Co., Ltd.
    179   Win-Win S&t (shenzhen) Co., Ltd.
    180   Yiwu Shifa Trading Co., Ltd.
    181   Zhejiang Shichi Hardware Manufacturing Co., Ltd.
    182   Zhengzhou Guhe Technology Service Co., Ltd.
    183   Zhengzhou World Whoop Technology Co., Ltd.
    184   Zhongshan City Denggao Rubber & Plastic Products Co., Ltd.
    185   ALMNVO
    186   amband
    187   ANTHOUSE Smart Watch Band
    188   BandPlus
    189   BETTER LIFE
    190   Blsyetec
    191   Bob E-Commerce Ltd
    192   BP'S Co.Ltd
    193   BXUXOHS
    194   Dwitch
    195   Fancing
    196   foshanshimingxisujiaomoju
    197   Hoibon
    198   Kebiory
    199   LEIXIUER
    200   Planck's Store
    201   RENDE Official store
    202   Rich Year
    203   shenzhenjinyingtao
    204   Sleektime
    205   SOLOLUP
    206   Song Ki
    207   Wearlizer
    208   WERIOQUQWEOP
    209   Xinmulight
    210   Xinwanna
    211   Xinxiangheng
    212   Xuhangla
    213   Yangmu
    214   Yanzhe Technology
    215   YCK LCD
    216   yeexnnn
    217   Yehongke

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     218   YGKJYXGS
     219   Yichunzhan
     220   YINSI
     221   Yixin Store
     222   Zaodian Co., Ltd
     223   Zhihuida
     224   Zhuhan
     225   zhuxioush
     227   CAOTT
     228   Golcast
     229   HUANDAI
     230   I Watch case band Accesso Shop
     231   iband
     232   Koostraps
     233   LAMSUN
     234   Little Jiuge
     235   MAIDIANTE
     236   Redeli
     237   Shenzhen Xuhong Electronics
     238   Stana
     239   Strapsinus
     240   Van Ge Van
     241   watchband speciality
     242   WenMingbaihuo
     243   Worldfine
     244   wrist strap and watch band
     245   Asteroid Workshop




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